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                                                                                          August 17, 2022

  VIA ECF

  Honorable Freda L. Wolfson, U.S.D.J.
  Chief Judge, U.S. District Court for the District of New Jersey
  Clarkson S. Fisher Federal Building
  402 East State Street
  Trenton, NJ 08608

                   Re:       Supernus Pharmaceuticals, Inc. v. RiconPharma LLC, et al.
                             Civil Action No. 21-12133 (FLW)(TJB)

  Dear Chief Judge Wolfson:
         This firm, together with Haug Partners LLP, represents Plaintiff Supernus
  Pharmaceuticals, Inc. in the above-captioned case. In accordance with Local Patent Rule 4.6 and
  the Court’s May 25, 2022 Order (D.I. 69), we write on behalf of all parties concerning the
  scheduling of a claim construction hearing in this matter.
          The parties have conferred and agree that a hearing would be useful for construction of
  the disputed terms. The parties also agree that live witness testimony will not be necessary, and
  anticipate that the Markman hearing will require no more than one day. All counsel are available
  for a Markman hearing on September 28-29, 2022. Accordingly, the parties respectfully request
  that the Court schedule the Markman hearing at a time within this date range, if this is also
  convenient for Your Honor. If September 28-29 is not convenient for Your Honor, the parties
  are happy to confer and provide the Court with additional dates when all counsel are available.
          Thank you for Your Honor’s kind attention to this matter.
                                                                                          Respectfully yours,



                                                                                          William C. Baton
  cc:     Hon. Tonianne J. Bongiovanni, U.S.M.J. (via ECF)
          All counsel (via e-mail)




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